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UNITED STATES BANKRUPTCY COURT
DISTRICT OF NEW JERSEY

Caption in Compliance with D.N.J. LBR 9004-1(b)
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Counsel for the Official Committee of
Unsecured Creditors
In re:                                                        Chapter 11

CYXTERA TECHNOLOGIES, INC., et al.,1                          Case No. 23-14853 (JKS)

                                   Debtors.                   (Jointly Administered)

         CERTIFICATE OF NO OBJECTION (NO ORDER REQUIRED) REGARDING
            FOURTH MONTHLY FEE STATEMENT OF ALVAREZ & MARSAL
             NORTH AMERICA, LLC, FOR PAYMENT OF COMPENSATION
            AND REIMBURSEMENT OF EXPENSES AS FINANCIAL ADVISOR
           TO THE OFFICIAL COMMITTEE OF UNSECURED CREDITORS FOR
          THE PERIOD FROM OCTOBER 1, 2023, THROUGH OCTOBER 31, 2023

          1.        On November 29, 2023, Pachulski Stang Ziehl & Jones LLP. (“PSZJ”), counsel to

the Official Committee of Unsecured Creditors (the “Committee”), filed and served the Fourth

Monthly Fee Statement of Alvarez & Marsal North America, LLC, for Payment of Compensation

and Reimbursement of Expenses as Financial Advisor to the Official Committee of Unsecured

1
     A complete list of each of the Debtors in these chapter 11 cases may be obtained on the website of the Debtors’
     claims and noticing agent at https://www.kccllc.net/cyxtera. The location of Debtor Cyxtera Technologies, Inc.’s
     principal place of business and the Debtors’ service address in these chapter 11 cases is: 2333 Ponce de Leon
     Boulevard, Ste. 900, Coral Gables, Florida 33134.

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Creditors for the Period from October 1, 2023, through October 31, 2023 [Docket No. 766] (the

“Application”).

          2.        Objections to the Application were to be filed and served no later than December

12, 2023. The undersigned has caused the Bankruptcy Court’s docket in this case to be reviewed,

and no answer, objection or other responsive pleadings to the Application appears thereon.

Additionally, no objections to the Application have been received by the undersigned counsel.

          3.        Pursuant to the Administrative Fee Order Establishing Procedures for the

Allowance and Payment of Interim Compensation and Reimbursement of Expenses of

Professionals Retained by Order of this Court entered on July 21, 2023 [Doc. No. 305] the Debtors

are authorized to pay Alvarez & Marsal North America, LLC $69,272.00, which represents 80%

of the fees ($86,590.00), and $40.27 which represents the expenses requested in the Application,

for the period from October 1, 2023 through October 31, 2023, upon the filing of this certificate

of no objection and without the need for entry of a Bankruptcy Court order approving the

Application.




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 Dated: December 19, 2023                             PACHULSKI STANG ZIEHL & JONES LLP

                                                      /s/ Colin R. Robinson
                                                      Robert J. Feinstein
                                                      Bradford J. Sandler
                                                      Paul J. Labov
                                                      Colin R. Robinson
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                                                      Counsel for the Official Committee of
                                                      Unsecured Creditors




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